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         ORDERED in the Southern District of Florida on March 13, 2020.




                                                              Mindy A. Mora, Judge
                                                              United States Bankruptcy Court
_____________________________________________________________________________


                                 UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF FLORIDA
                                     WEST PALM BEACH DIVISION

        In re:
        Ron Vigdor.                                                  Case No.:20-12751-MAM
                                                                     Chapter 13

                       Debtor(s).
                                         /

                            ORDER GRANTING DEBTOR(S) EX-PARTE
                    MOTION TO EXTEND TIME TO FILE REQUIRED PAPERS [DE:8 ]

               THIS MATTER CAME before the Court upon the Debtor(s) Ex-Parte Motion for Extension

        of Time to File Required Papers [DE # 8 ] . The Debtor(s) request a 14-day extension of time to file

        the Summary of Schedules, Schedules, Statement of Financial Affairs, Declaration Concerning

        Debtor's Schedules, Statement of Current Monthly Income, Payment Advices and Chapter 13 Plan.

        The Court, having reviewed the Motion and with good cause having been shown, it is ORDERED

        as follows:

               1.      The Debtor(s) Motion is GRANTED.

               2.      The deadline to file the Summary of Schedules, Schedules, Statement of Financial
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Affairs, Declaration Concerning Debtor's Schedules, Statement of Current Monthly Income,

Payment Advices and Chapter 13 Plan is 3/27/2020.

       3.      The Clerk of Court may dismiss this case without further notice if the plan, schedules

and all other required papers are not filed within the above time frame.

       4.      No further extensions will be granted absent extraordinary circumstances.

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Submitted by:
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Copies furnished to:
NOWACK & OLSON, PLLC is directed to serve a conformed copy of this Order to all creditors
and interested parties immediately upon receipt thereof.
